       Case 3:16-md-02741-VC          Document 8921        Filed 01/13/20     Page 1 of 23



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 7

 8                                UNITED STATES DISTRICT COURT

 9                               NORTHERN DISTRICT OF CALIFORNIA

10   IN RE: ROUNDUP PRODUCTS                            MDL No. 2741
     LIABILITY LITIGATION                               Case No. 3:16-md-02741-VC
11

12   This document relates to:
13   James Halloran v. Monsanto Co.,
     Case No. 3:20-cv-00009-VC
14

15            MONSANTO COMPANY’S ANSWER TO PLAINTIFF’S COMPLAINT
16          Pursuant to Rule 12 of the Federal Rules of Civil Procedure, Defendant Monsanto
17   Company (“Monsanto”), by and through its counsel, respectfully responds by generally denying
18   all allegations contained in plaintiff James Halloran’s Complaint and Jury Demand (“the
19   Complaint”), except as set forth below. As defined in the Complaint and as used in this Answer,
20   Monsanto refers to Monsanto Company, a United States based company incorporated in
21   Delaware, and not to other Monsanto-affiliated companies. Silence as to any allegations shall
22   constitute a denial.
23          1.      Monsanto admits that plaintiff purports to bring an action for damages allegedly
24   related to exposure to Roundup®-branded products but denies any liability to plaintiff. Monsanto
25   denies the remaining allegations in paragraph 1.
26          2.      Monsanto denies the allegations in paragraph 2.
27          3.      Monsanto denies the allegations in paragraph 3.
28
                                          -1-
                 MONSANTO COMPANY’S ANSWER TO PLAINTIFF’S COMPLAINT
                           3:16-md-02741-VC & 3:20-cv-00009-VC
       Case 3:16-md-02741-VC           Document 8921         Filed 01/13/20      Page 2 of 23



 1           4.      The allegations in paragraph 4 set forth conclusions of law for which no response

 2   is required.

 3           5.      Monsanto admits the allegations in paragraph 5.

 4           6.      The allegations in the first sentence of paragraph 6 set forth conclusions of law for

 5   which no response is required. Monsanto lacks information or knowledge sufficient to form a

 6   belief as to the truth of the allegations in the second sentence of paragraph 6 and therefore denies

 7   those allegations. Monsanto admits the remaining allegations in paragraph 6.

 8           7.      The allegations in paragraph 7 set forth conclusions of law for which no response

 9   is required.
             8.      Monsanto denies that its Roundup®-branded products are “dangerous” and denies
10

11   that plaintiff’s alleged harms, losses, or damages were caused by Roundup®-branded products.

12   Monsanto lacks information or knowledge sufficient to form a belief as to the allegations in

13   paragraph 8 regarding plaintiff’s residency and place of injury and therefore denies those
14   allegations. The remaining allegations in paragraph 8 set forth conclusions of law for which no
15
     response is required.
16

17           9.      Monsanto lacks information or knowledge sufficient to form a belief as to the

18   truth of the allegations in paragraph 9 and therefore denies those allegations.

19           10.     Monsanto denies the allegations in paragraph 10.

20           11.     The allegations in paragraph 11 comprise attorney characterizations and are

21   accordingly denied.

22           12.     Monsanto admits the allegations in paragraph 12.

23           13.     In response to the allegations in paragraph 13, Monsanto admits that it sells

24   Roundup®-branded products in Illinois.

25           14.     Monsanto lacks information or knowledge sufficient to form a belief as to the

26   truth of the allegations in paragraph 14 and therefore denies those allegations.

27           15.     The allegations in paragraph 15 are vague and conclusory and comprise attorney

28   characterizations and are accordingly denied.
                                            -2-
                   MONSANTO COMPANY’S ANSWER TO PLAINTIFF’S COMPLAINT
                             3:16-md-02741-VC & 3:20-cv-00009-VC
       Case 3:16-md-02741-VC           Document 8921        Filed 01/13/20      Page 3 of 23



 1          16.     The allegations in paragraph 16 are vague and conclusory and comprise attorney

 2   characterizations and are accordingly denied.

 3          17.     Monsanto admits the allegations in the first sentence of paragraph 17. Monsanto

 4   admits that it is authorized to do business in Illinois. The remaining allegations in paragraph 17

 5   are vague and conclusory and comprise attorney characterizations and are accordingly denied.

 6          18.     The allegations in paragraph 18 set forth conclusions of law for which no

 7   response is required.

 8          19.     Monsanto denies the allegations in paragraph 19.

 9          20.     Monsanto admits that it has designed, researched, manufactured, tested,

10   advertised, promoted, marketed, sold, and distributed Roundup®-branded products. The

11   remaining allegations in paragraph 20 set forth conclusions of law for which no response is

12   required.

13          21.     Monsanto admits that it is an agricultural biotechnology corporation with a

14   principal place of business in St. Louis County, Missouri. Monsanto admits that it and its

15   affiliated companies have operations and offices in countries around the world. Monsanto states

16   that the remaining allegations in paragraph 21 are vague and that it accordingly lacks information

17   or knowledge sufficient to form a belief as to the truth of the remaining allegations and therefore

18   denies those allegations.

19          22.     Monsanto admits the allegations in paragraph 22.

20          23.     Monsanto admits the allegations in paragraph 23.

21          24.     In response to the allegations in paragraph 24, Monsanto admits that glyphosate is

22   an herbicide that is used to kill invasive plants and weeds. The remaining allegations in

23   paragraph 24 are vague and ambiguous and Monsanto lacks information or knowledge sufficient

24   to form a belief as to the truth of the remaining allegations in paragraph 26 and therefore denies

25   those allegations.

26          25.     Monsanto admits that glyphosate’s mode of action is targeting EPSP synthase.

27   The remaining allegations in paragraph 25 comprise attorney characterizations and are

28   accordingly denied.
                                           -3-
                  MONSANTO COMPANY’S ANSWER TO PLAINTIFF’S COMPLAINT
                            3:16-md-02741-VC & 3:20-cv-00009-VC
       Case 3:16-md-02741-VC           Document 8921         Filed 01/13/20       Page 4 of 23



 1          26.     Monsanto admits the allegations in paragraph 26.

 2          27.     Monsanto generally admits the allegations in paragraph 27, but denies the

 3   allegations in paragraph 27 to the extent that they suggest that glyphosate is present in any plants

 4   at anything other than de minimis amounts well within regulatory safety levels, as determined by

 5   the United States Environmental Protection Agency (“EPA”).

 6          28.     Monsanto lacks information or knowledge sufficient to form a belief as to the

 7   truth of the allegations in paragraph 28 and therefore denies those allegations.

 8          29.     Monsanto admits that it is the leading producer of seeds that contain the Roundup

 9   Ready® trait and that use of crops with the Roundup Ready® trait substantially improve a

10   farmer’s ability to control weeds. Monsanto lacks information or knowledge sufficient to form a

11   belief as to the accuracy of the specific numbers and statistics provided in the remaining

12   sentences of paragraph 29 and therefore denies those allegations. Monsanto denies the

13   remaining allegations in paragraph 29.

14          30.     In response to the allegations in the first and second sentences of paragraph 30,

15   Monsanto admits that glyphosate is one of the world’s most widely used herbicides today, but

16   notes that Monsanto was and is not the only manufacturer of glyphosate-based herbicides..

17          31.     Monsanto admits that Roundup®-branded products have been used by farmers for

18   approximately 40 years. Monsanto denies that Roundup®-branded products have carcinogenic

19   properties and denies the remaining allegations in paragraph 31.

20          32.     The allegations in paragraph 32 set forth conclusions of law for which no

21   response is required. To the extent that a response is deemed required, Monsanto admits the

22   allegations in paragraph 32.

23          33.     In response to the allegations in paragraph 33, Monsanto admits that EPA requires

24   registrants of herbicides to submit extensive data in support of the human health and

25   environmental safety of their products and further admits that EPA will not register or approve

26   the labeling of herbicides that do not satisfy the requirements set forth in the Federal Insecticide,

27   Fungicide, and Rodenticide Act (“FIFRA”). The remaining allegations in paragraph 33 set forth

28   conclusions of law for which no response is required.
                                                   -4-
               MONSANTO COMPANY’S ANSWER TO PLAINTIFF’S COMPLAINT
                                3:16-md-02741-VC & 3:20-cv-00009-VC
         Case 3:16-md-02741-VC         Document 8921          Filed 01/13/20      Page 5 of 23



 1           34.     The allegations in paragraph 34 set forth conclusions of law for which no

 2   response is required.

 3           35.     Monsanto admits that Roundup®-branded products are registered by EPA for

 4   manufacture, sale and distribution and are registered by the State of Illinois for sale and

 5   distribution.

 6           36.     In response to the allegations in paragraph 36, Monsanto admits that EPA requires

 7   registrants of herbicides to submit extensive data in support of the human health and

 8   environmental safety of their products and further admits that EPA will not register or approve

 9   the labeling of herbicides that do not satisfy the requirements set forth in FIFRA. Monsanto

10   states that the term “the product tests” in the final sentence of paragraph 38 is vague and

11   ambiguous, and Monsanto therefore denies the same. The remaining allegations in paragraph 36

12   set forth conclusions of law for which no answer is required.

13           37.     Monsanto denies the allegations in paragraph 37 to the extent that they suggest

14   that EPA only evaluates the safety of pesticide products on the date of their initial registration.

15   Monsanto admits that EPA is in the process of conducting regulatory review of various pesticide

16   products, but Monsanto lacks information or knowledge sufficient to form a belief as to the truth

17   of the allegations in paragraph 37 regarding such pesticide products generally and therefore

18   denies those allegations. The remaining allegations in paragraph 37 set forth conclusions of law

19   for which no response is required.

20           38.     In response to the allegations in paragraph 38, Monsanto admits that EPA has

21   undertaken a regulatory review of glyphosate and further admits that EPA has not released its

22   findings. Monsanto states, however, that: (a) in September 2016, EPA’s Office of Pesticide

23   Programs (“OPP”) issued a 227-page evaluation of glyphosate’s carcinogenic potential,

24   concluding that “[t]he strongest support is for [the descriptor] ‘not likely to be carcinogenic to

25   humans’ at doses relevant to human health risk assessment”1; and (b) at the same time, EPA

26
     1
      EPA’s Office of Pesticide Programs, Glyphosate Issue Paper: Evaluation of Carcinogenic
27   Potential at 141 (Sept. 12, 2016) (“EPA OPP Report”), https://www.regulations.gov/
     document?D=EPA-HQ-OPP-2016-0385-0094. The EPA OPP Report was prepared in
28                                                                                          (Footnote continued)
                                            -5-
                   MONSANTO COMPANY’S ANSWER TO PLAINTIFF’S COMPLAINT
                             3:16-md-02741-VC & 3:20-cv-00009-VC
       Case 3:16-md-02741-VC           Document 8921          Filed 01/13/20      Page 6 of 23



 1   posted an October 2015 final report by its standing Cancer Assessment Review Committee

 2   (“CARC”), in which CARC endorsed EPA’s existing classification of glyphosate as “Not Likely

 3   to be Carcinogenic to Humans.”2 Monsanto further states that, in December 2017, EPA’s OPP

 4   issued a detailed, lengthy revised evaluation of glyphosate’s carcinogenic potential that reiterated

 5   the conclusion that “[t]he strongest support is for [the descriptor] ‘not likely to be carcinogenic to

 6   humans’.”3 Monsanto lacks information or knowledge sufficient to form a belief as to the truth

 7   of the remaining allegations in paragraph 38 and therefore denies those allegations.

 8          39.     In response to the allegations in paragraph 39, Monsanto admits that the New

 9   York Attorney General filed a lawsuit against Monsanto in 1996 alleging false and misleading

10   advertising of Roundup®-branded products. This lawsuit was subsequently resolved without any

11   admission of wrongdoing by Monsanto. Monsanto states that none of the New York Attorney

12   General’s allegations related in any way to a purported or alleged risk of cancer. To the extent

13   the subparts purport to quote a document, the document speaks for itself and thus does not

14   require any further answer. The remaining allegations in paragraph 39 are vague and conclusory

15   and comprise attorney characterizations and are accordingly denied.

16          40.     In response to the allegations in paragraph 40, Monsanto admits it entered into an

17   assurance of discontinuance with the New York Attorney General. The assurance speaks for

18   itself and thus does not require any further answer. The remaining allegations in paragraph 40

19   are vague and conclusory and comprise attorney characterizations and are accordingly denied.

20          41.     Monsanto denies the allegations in paragraph 41.

21

22

23   anticipation of an EPA Scientific Advisory Panel meeting on glyphosate’s carcinogenic
     potential.
24   2
       Cancer Assessment Review Committee, Health Effects Division, Office of Pesticide Programs,
     U.S. Environmental Protection Agency, Cancer Assessment Document – Evaluation of the
25   Carcinogenic Potential of Glyphosate at 10, 77 (Final Report, Oct. 1, 2015) (“EPA CARC Final
     Report”), https://www.regulations.gov/document?D=EPA-HQ-OPP-2016-0385-0014.
26
     3
       EPA’s Office of Pesticide Programs, Revised Glyphosate Issue Paper: Evaluation of
27   Carcinogenic Potential at 143, 144 (Dec. 12, 2017), https://www.regulations.gov/
     document?D=EPA-HQ-OPP-2016-0385-0528.
28
                                           -6-
                  MONSANTO COMPANY’S ANSWER TO PLAINTIFF’S COMPLAINT
                            3:16-md-02741-VC & 3:20-cv-00009-VC
       Case 3:16-md-02741-VC            Document 8921          Filed 01/13/20      Page 7 of 23



 1          42.     In response to the allegations in paragraph 42, Monsanto admits that the French

 2   court ruled that Monsanto had falsely advertised its herbicide Roundup® as “biodegradable” and

 3   that it “left the soil clean,” but denies the allegations in paragraph 42 to the extent that they

 4   suggest that this ruling was in any way related to plaintiff’s claim here that glyphosate can cause

 5   cancer. Monsanto denies the remaining allegations in paragraph 42.

 6          43.     Monsanto denies the allegations in paragraph 43.

 7          44.     In response to the allegations in paragraph 44, Monsanto states that the cited

 8   document speaks for itself and does not require a response. To the extent that the allegations in

 9   paragraph 44 go beyond a restatement of the cited document, Monsanto lacks information or

10   knowledge sufficient to form a belief as to the truth of the remaining allegations in paragraph 44

11   and therefore denies those allegations.

12          45.     Monsanto admits the allegations in paragraph 45.

13          46.     In response to the allegations in paragraph 46, Monsanto states that the cited

14   document speaks for itself and does not require a response. To the extent that the allegations in

15   paragraph 46 go beyond a restatement of the cited document, Monsanto lacks information or

16   knowledge sufficient to form a belief as to the truth of the remaining allegations in paragraph 48

17   and therefore denies those allegations.

18          47.     Monsanto states that the term “toxic” as used in paragraph 47 is vague and

19   ambiguous to the extent it is intended to suggest any evidence of carcinogenicity. Monsanto

20   denies the allegations in paragraph 47.

21          48.     Monsanto admits the allegations in paragraph 48.

22          49.     In response to the allegations in paragraph 49, Monsanto states that the document

23   speaks for itself and does not require a response. To the extent that a response is deemed

24   required, Monsanto denies the allegations in paragraph 49.

25          50.     In response to the allegations in paragraph 50, Monsanto admits that Julie Marc

26   published a study entitled “Glyphosate-based pesticides affect cell cycle regulation” in 2004. To

27   the extent that paragraph 50 characterizes the meaning of the cited study, Monsanto denies the

28   remaining allegations in paragraph 50.
                                           -7-
                  MONSANTO COMPANY’S ANSWER TO PLAINTIFF’S COMPLAINT
                            3:16-md-02741-VC & 3:20-cv-00009-VC
       Case 3:16-md-02741-VC           Document 8921         Filed 01/13/20      Page 8 of 23



 1          51.      In response to the allegations in paragraph 51, Monsanto states that these

 2   documents speak for themselves and do not require a response. To the extent that a response is

 3   deemed required, Monsanto denies the allegations in paragraph 51.

 4          52.      In response to the allegations in paragraph 52, Monsanto states that the cited

 5   document speaks for itself and does not require a response. To the extent that paragraph 52

 6   characterizes the meaning of the cited study, Monsanto denies the remaining allegations in

 7   paragraph 52.

 8          53.      Monsanto denies the allegations in paragraph 53.

 9          54.      In response to the allegations in paragraph 54, Monsanto states that the cited

10   document speaks for itself and does not require a response. To the extent that paragraph 54

11   characterizes the meaning of the cited study, Monsanto denies the remaining allegations in

12   paragraph 54.

13          55.      In response to the allegations in paragraph 55, Monsanto states that the cited

14   document speaks for itself and does not require a response. To the extent that paragraph 55

15   characterizes the meaning of the cited study, Monsanto denies the remaining allegations in

16   paragraph 55.

17          56.      Monsanto denies the allegation that the cited studies support the allegation that

18   glyphosate or Roundup®-branded products pose any risk to human health and denies the

19   remaining allegations in paragraph 56.

20          57.      Monsanto denies the allegations in paragraph 57.

21          58.      Monsanto denies the allegations in paragraph 58.

22          59.      Monsanto denies the allegations in paragraph 59.

23          60.      Monsanto denies the allegations in paragraph 60.

24          61.      Monsanto admits that it has in the past promoted, and continues to promote,

25   Roundup®-branded herbicides as safe when used in accordance with the products’ labeling.

26   Monsanto denies the remaining allegations in paragraph 61.

27          62.      Monsanto admits that the International Agency for Research on Cancer (“IARC”)

28   is a subgroup of the World Health Organization (“WHO”) of the United Nations. Monsanto
                                                  -8-
                MONSANTO COMPANY’S ANSWER TO PLAINTIFF’S COMPLAINT
                                3:16-md-02741-VC & 3:20-cv-00009-VC
       Case 3:16-md-02741-VC             Document 8921        Filed 01/13/20     Page 9 of 23



 1   lacks information or knowledge sufficient to form a belief as to the truth of the remaining

 2   allegations in paragraph 62 and therefore denies those allegations.

 3             63.     Monsanto lacks information or knowledge sufficient to form a belief as to the

 4   truth of the allegations in paragraph 63 and therefore denies those allegations. Monsanto denies

 5   that glyphosate met the criteria necessary to be eligible for review.

 6             64.     Monsanto lacks information or knowledge sufficient to form a belief as to the

 7   truth of the allegations in paragraph 64 and therefore denies those allegations. Monsanto denies

 8   that glyphosate met the criteria necessary to be eligible for review.

 9             65.     Monsanto admits that in March 2015 IARC classified glyphosate as a class 2A

10   carcinogen. Monsanto specifically denies that IARC’s evaluation of human, animal or genotoxic

11   evidence was “cumulative.” The remaining allegations in paragraph 65 are vague and

12   conclusory and comprise attorney characterizations and are accordingly denied.

13             66.     Monsanto admits that the full IARC Monograph regarding glyphosate was

14   published on July 29, 2015 and that the Monograph purported to classify glyphosate as a class

15   2A carcinogen. In response to the remaining allegations in paragraph 66, Monsanto states that

16   the document speaks for itself and does not require a response. To the extent that a response is

17   deemed required, the remaining allegations in paragraph 66 comprise attorney characterizations

18   and are accordingly denied.

19             67.     In response to the allegations in paragraph 67, Monsanto states that the document

20   speaks for itself and does not require a response. To the extent that a response is deemed

21   required, the allegations in paragraph 67 comprise attorney characterizations and are accordingly

22   denied.

23             68.     In response to the allegations in paragraph 68, Monsanto states that the document

24   speaks for itself and does not require a response. To the extent that a response is deemed

25   required, the allegations in paragraph 68 comprise attorney characterizations and are accordingly

26   denied.

27             69.     Monsanto denies the allegations in paragraph 69.

28
                                              -9-
                     MONSANTO COMPANY’S ANSWER TO PLAINTIFF’S COMPLAINT
                               3:16-md-02741-VC & 3:20-cv-00009-VC
      Case 3:16-md-02741-VC              Document 8921        Filed 01/13/20      Page 10 of 23



 1             70.     The allegations in paragraph 70 comprise attorney characterizations and are

 2   accordingly denied.

 3             71.     Monsanto admits the allegations in paragraph 71.

 4             72.     In response to the allegations in paragraph 72, Monsanto states that the cited

 5   document speaks for itself and does not require a response. To the extent that paragraph 72

 6   characterizes the meaning of the cited study, Monsanto denies the remaining allegations in

 7   paragraph 72.

 8             73.     In response to the allegations in paragraph 73, Monsanto admits that certain

 9   studies have reported that glyphosate and glyphosate-based formulations induced oxidative stress

10   under artificial experimental conditions. Monsanto denies that these studies provide any reliable

11   evidence that glyphosate or glyphosate-based formulations induce oxidative stress in humans or

12   animals under real-world exposure conditions. Monsanto denies the remaining allegations in

13   paragraph 73.

14             74.     The allegations in paragraph 74 are vague and ambiguous and are accordingly

15   denied.

16             75.     In response to the allegations in paragraph 75, Monsanto states that the cited

17   document speaks for itself and does not require a response.

18             76.     In response to the allegations in paragraph 76, Monsanto states that the cited

19   document speaks for itself and does not require a response. To the extent that paragraph 76

20   characterizes the meaning of the cited study, Monsanto denies the remaining allegations in

21   paragraph 76.

22             77.     Monsanto denies the allegations in paragraph 77.

23             78.     In response to the allegations in paragraph 78, Monsanto states that the cited

24   document speaks for itself and does not require a response. Monsanto otherwise denies the

25   allegations in paragraph 78.

26             79.     Monsanto admits that there is no reliable evidence that Roundup®-branded

27   products are genotoxic, and that regulatory authorities and independent experts agree that

28
                                              - 10 -
                     MONSANTO COMPANY’S ANSWER TO PLAINTIFF’S COMPLAINT
                               3:16-md-02741-VC & 3:20-cv-00009-VC
      Case 3:16-md-02741-VC           Document 8921        Filed 01/13/20     Page 11 of 23



 1   Roundup®-branded products are not genotoxic. Monsanto otherwise denies the allegations in

 2   paragraph 79.

 3          80.      Monsanto denies the allegations in paragraph 80.

 4          81.      Monsanto denies the allegations in paragraph 81.

 5          82.      Monsanto denies the allegations in paragraph 82.

 6          83.      Monsanto admits that in 1985 EPA reviewed a regulatory study involving mice

 7   exposed to glyphosate. Monsanto denies the remaining allegations in paragraph 83.

 8          84.      Monsanto denies the allegations in paragraph 84.

 9          85.      Monsanto denies the allegations in paragraph 85.

10          86.      Monsanto admits the allegations in paragraph 86.

11          87.      Monsanto denies the allegations in paragraph 87.

12          88.      Monsanto admits the allegations in paragraph 88.

13          89.      Monsanto denies the allegations in paragraph 89.

14          90.      Monsanto denies the allegations in paragraph 90.

15          91.      Monsanto denies the allegations in paragraph 91.

16          92.      Monsanto denies the allegations in paragraph 92.

17          93.      Monsanto denies the allegations in paragraph 93.

18          94.      Monsanto denies the allegations in paragraph 94.

19          95.      Monsanto denies the allegations in paragraph 95.

20          96.      In response to the allegations in paragraph 96, Monsanto admits that independent

21   experts and regulatory agencies agree that there is no evidence of carcinogenicity or genotoxicity

22   in glyphosate and Roundup®-branded products and admits that it has made statements reflecting

23   this fact. Monsanto denies the remaining allegations in paragraph 96.

24          97.      In response to the allegations in paragraph 97, Monsanto admits that Roundup®-

25   branded products are safe, non-carcinogenic and non-genotoxic when used in accordance with

26   the product’s EPA approved labeling. Monsanto otherwise denies the allegations in paragraph

27   97.

28
                                           - 11 -
                  MONSANTO COMPANY’S ANSWER TO PLAINTIFF’S COMPLAINT
                            3:16-md-02741-VC & 3:20-cv-00009-VC
      Case 3:16-md-02741-VC            Document 8921        Filed 01/13/20      Page 12 of 23



 1          98.      In response to the allegations in paragraph 98, Monsanto admits that an EPA

 2   review committee classified glyphosate as Class C in 1985 based on limited data. Monsanto

 3   denies the remaining allegations in paragraph 98.

 4          99.      In response to the allegations in paragraph 99, Monsanto admits that EPA

 5   changed its classification of glyphosate to Group E based upon a full evaluation of the scientific

 6   evidence, including but not limited to three animal carcinogenicity studies. Monsanto otherwise

 7   denies the remaining allegations in paragraph 99.

 8          100.     In response to the allegations in paragraph 100, Monsanto admits that plaintiff has

 9   accurately quoted from one passage in an EPA document in 1991 with respect to the designation

10   of an agent as Group E, but states that EPA repeatedly has concluded that glyphosate does not

11   pose any cancer risk to humans. In addition to the conclusions in the two EPA OPP reports and

12   the EPA CARC Final Report discussed above, other specific findings of safety include:

13                “In June 1991, EPA classified glyphosate as a Group E [carcinogen]—one that
                  shows evidence of non-carcinogenicity for humans—based on the lack of convincing
14                evidence of carcinogenicity in adequate studies.” EPA, Glyphosate: Reregistration
                  Eligibility Decision (RED) Facts, 2 (Sept. 1993),
15                http://archive.epa.gov/pesticides/reregistration/web/pdf/0178fact.pdf.

16               “No evidence of carcinogenicity.” Glyphosate; Pesticide Tolerances, 67 Fed. Reg.
                  60,934, 60,943 (Sept. 27, 2002) (to be codified at 40 C.F.R. pt. 180).
17
                 “Glyphosate has no carcinogenic potential.” Glyphosate; Pesticide Tolerance, 69
18                Fed. Reg. 65,081, 65,086 (Nov. 10, 2004) (to be codified at 40 C.F.R. pt. 180).

19               “There is [an] extensive database available on glyphosate, which indicate[s] that
                  glyphosate is not mutagenic, not a carcinogen, and not a developmental or
20                reproductive toxicant.” Glyphosate; Pesticide Tolerances, 73 Fed. Reg. 73,586,
                  73,589 (Dec. 3, 2008) (to be codified at 40 C.F.R. pt. 180).
21
                 “EPA has concluded that glyphosate does not pose a cancer risk to humans.”
22                Glyphosate; Pesticide Tolerances, 78 Fed. Reg. 25,396, 25,398 (May 1, 2013) (to be
                  codified at 40 C.F.R. pt. 180).
23
                 “In 2014, EPA reviewed over 55 epidemiological studies conducted on the possible
24                cancer and non-cancer effects of [g]lyphosate. Our review concluded that this body
                  of research does not provide evidence to show that [g]lyphosate causes cancer and
25                does not warrant any change in EPA’s cancer classification for [g]lyphosate.”
                  Agriculture Biotechnology: A Look at Federal Regulation and Stakeholder
26                Perspectives: Hearing Before the S. Comm. on Agr., Nutrition, & Forestry, 114th
                  Cong. (2015) (statement of Dr. William Jordan, Deputy Director of EPA’s Office of
27                Pesticide Programs), http://www.ag.senate.gov/templates/watch.cfm?id=74793e67-
                  5056-a055-64af-0e55900753b4, at time stamp 55:05-56:20 (“EPA 2015 Desk
28                Statement”).
                                           - 12 -
                  MONSANTO COMPANY’S ANSWER TO PLAINTIFF’S COMPLAINT
                            3:16-md-02741-VC & 3:20-cv-00009-VC
      Case 3:16-md-02741-VC           Document 8921        Filed 01/13/20      Page 13 of 23



 1   Monsanto denies the remaining allegations in paragraph 100.

 2          101.    In response to the allegations in paragraph 101, Monsanto admits that it – along

 3   with a large number of other companies and governmental agencies – was defrauded by two

 4   chemical testing laboratories, and that Monsanto had hired both of these laboratories to conduct

 5   testing on glyphosate. Monsanto states that only one of these laboratories was hired to conduct

 6   toxicity tests of glyphosate. Monsanto denies that EPA’s registration of glyphosate or any

 7   glyphosate-based herbicides is based upon any invalid Industrial Bio-Test (“IBT”) Laboratories
     studies. To the extent that the allegations in paragraph 101 are intended to suggest that
 8
     Monsanto was anything other than a victim of this fraud, such allegations are denied.
 9
            102.    In response to the allegations in paragraph 102, Monsanto admits that IBT
10
     Laboratories was hired to conduct toxicity studies in connection with the registration of a
11
     Roundup®-branded product. Monsanto denies that EPA’s regulatory approval of such product is
12
     based upon any fraudulent or false IBT studies.
13
            103.    Monsanto denies the allegations in paragraph 103 to the extent they suggest that
14
     EPA performed an inspection of IBT Laboratories solely or specifically in connection with
15
     studies conducted on glyphosate. Monsanto admits that EPA performed an audit of IBT
16
     Laboratories to investigate that laboratory’s fraudulent and/or improper testing procedures in
17
     connection with services provided to a broad number of private and governmental entities and
18
     that this inspection included a review of studies IBT conducted on glyphosate. Monsanto was
19
     one of several pesticide manufacturers who had used IBT test results. The audit found some
20
     toxicology studies conducted with the original Roundup® herbicide to be invalid. As a result,
21
     Monsanto repeated all required studies in accordance with applicable EPA testing guidelines.
22
     Monsanto denies that EPA’s registration of glyphosate or any glyphosate-based herbicides is
23
     based upon any invalid IBT studies. To the extent that the allegations in paragraph 103 are
24
     intended to suggest that Monsanto was anything other than a victim of this fraud, Monsanto
25
     denies those allegations.
26
            104.    In response to the allegations in paragraph 104, Monsanto admits that three IBT
27
     employees were convicted of the charge of fraud, but Monsanto denies that any of the
28
                                         - 13 -
                MONSANTO COMPANY’S ANSWER TO PLAINTIFF’S COMPLAINT
                          3:16-md-02741-VC & 3:20-cv-00009-VC
      Case 3:16-md-02741-VC           Document 8921         Filed 01/13/20     Page 14 of 23



 1   individuals were convicted based upon studies conducted on glyphosate or glyphosate-based

 2   herbicides.

 3          105.     In response to the allegations in paragraph 105, Monsanto admits that it – along

 4   with numerous other private companies – hired Craven Laboratories as an independent

 5   laboratory to conduct residue studies for Monsanto agricultural products. Monsanto otherwise

 6   denies the remaining allegations in paragraph 105.

 7          106.     In response to the allegations in paragraph 106, Monsanto admits that EPA

 8   investigated Craven Laboratories in March 1991 for fraud. To the extent that the allegations in

 9   paragraph 106 are intended to suggest that Monsanto was anything other than a victim of this

10   fraud, Monsanto denies those allegations.

11          107.     In response to the allegations in paragraph 107, Monsanto admits that it was

12   defrauded by Craven Laboratories and that, as a result, Monsanto repeated the studies conducted

13   at Craven Laboratories at a substantial cost. To the extent that the allegations in paragraph 107

14   are intended to suggest that Monsanto was anything other than a victim of this fraud, Monsanto

15   denies those allegations.

16          108.     In response to the allegations in paragraph 108, Monsanto admits that it has stated

17   and continues to state that Roundup®-branded products are safe when used as labeled and that

18   they are non-carcinogenic and non-genotoxic.

19          109.     In response to the allegations in paragraph 109, Monsanto admits that a 1986 joint

20   report of the World Health Organization and Food and Agriculture Organization of the United

21   Nations is cited in support of the safety of glyphosate and Roundup®-branded products.

22   Monsanto denies that this report is the “primary” cite in support of the safety of glyphosate and

23   Roundup®-branded products, and denies that WHO considers glyphosate to be a probable

24   carcinogen. Monsanto denies the remaining allegations in paragraph 109.

25          110.     Monsanto denies the allegations in paragraph 110.

26          111.     Monsanto denies the allegations in paragraph 111.

27          112.     Monsanto denies the allegations in paragraph 112.

28          113.     Monsanto denies the allegations in paragraph 113.
                                                   - 14 -
                   MONSANTO COMPANY’S ANSWER TO PLAINTIFF’S COMPLAINT
                                3:16-md-02741-VC & 3:20-cv-00009-VC
      Case 3:16-md-02741-VC           Document 8921         Filed 01/13/20      Page 15 of 23



 1          114.    Monsanto denies the allegations in paragraph 114.

 2          115.    Monsanto denies the allegations in paragraph 115.

 3          116.    Monsanto denies the allegations in paragraph 116.

 4          117.    Monsanto denies the allegations in paragraph 117.

 5          118.    Monsanto denies the allegations in paragraph 118.

 6          119.    Monsanto denies the allegations in paragraph 119.

 7          120.    Monsanto denies the allegations in paragraph 120.

 8          121.    Monsanto lacks information or knowledge sufficient to form a belief as to the

 9   truth of the allegations in paragraph 121 and therefore denies those allegations.

10          122.    Monsanto lacks information or knowledge sufficient to form a belief as to the

11   truth of the allegations in paragraph 122 and therefore denies those allegations.

12          123.    Monsanto lacks information or knowledge sufficient to form a belief as to the

13   truth of the allegations in paragraph 123 and therefore denies those allegations.

14          124.    Monsanto lacks information or knowledge sufficient to form a belief as to the

15   truth of the allegations in the first sentence of paragraph 124 and therefore denies those

16   allegations. Monsanto denies the remaining allegations in paragraph 124.

17          125.    Monsanto denies the allegations in paragraph 125.

18          126.    Monsanto incorporates by reference its responses to paragraphs 1 through 125 in

19   response to paragraph 126 of plaintiff’s Complaint.

20          127.    Monsanto denies the allegations in paragraph 127.

21          128.    In response to the allegations in paragraph 128, Monsanto admits that it has stated

22   and continues to state that Roundup®-branded products are safe when used as labeled and that

23   they are non-toxic and non-carcinogenic.

24          129.    In response to the allegations in paragraph 129, Monsanto states that the cited

25   document speaks for itself and does not require a response.

26          130.    Monsanto denies that exposure to Roundup®-branded products and glyphosate

27   exposed plaintiff to risk of his alleged cancer and denies the remaining allegations in paragraph

28
                                         - 15 -
                MONSANTO COMPANY’S ANSWER TO PLAINTIFF’S COMPLAINT
                          3:16-md-02741-VC & 3:20-cv-00009-VC
      Case 3:16-md-02741-VC            Document 8921         Filed 01/13/20      Page 16 of 23



 1   130. Monsanto states, however, that the scientific studies upon which IARC purported to base

 2   its classification were all publicly available before March 2015.

 3          131.    Monsanto denies the allegations in the first and last sentences of paragraph 131.

 4   The remaining allegations in paragraph 131 set forth conclusions of law for which no response is

 5   required. Monsanto states, however, that the scientific studies upon which IARC purported to

 6   base its classification were all publicly available before March 2015.

 7          132.    Monsanto denies that it engaged in the “wrongdoing” alleged in the Complaint

 8   and denies that there is any reliable scientific evidence that exposure to glyphosate or Roundup®-

 9   branded products can cause cancer. Monsanto states, however, that the scientific studies upon

10   which IARC purported to base its classification were all publicly available before March 2015.

11   The remaining allegations in paragraph 132 set forth conclusions of law for which no response is

12   required, consist of attorney characterizations and are accordingly denied, or comprise

13   allegations for which Monsanto lacks information or knowledge sufficient to form a belief as to

14   the truth of the allegations asserted and therefore denies those allegations.

15          133.    Monsanto incorporates by reference its responses to paragraphs 1 through 132 in

16   response to paragraph 133 of plaintiff’s Complaint.

17          134.    The allegations in paragraph 134 set forth conclusions of law for which no

18   response is required.

19          135.    Monsanto denies the allegations in paragraph 135.

20          136.    Monsanto denies the allegations in paragraph 136, including each of its subparts.

21          137.    Monsanto denies the allegations in paragraph 137.

22          138.    Monsanto denies the allegations in paragraph 138.

23          139.    Monsanto denies the allegations in paragraph 139, including each of its subparts.

24          140.    Monsanto denies the allegations in paragraph 140.

25          141.    Monsanto denies the allegations in paragraph 141.

26          142.    Monsanto denies the allegations in paragraph 142.

27          143.    Monsanto denies the allegations in paragraph 143.

28
                                         - 16 -
                MONSANTO COMPANY’S ANSWER TO PLAINTIFF’S COMPLAINT
                          3:16-md-02741-VC & 3:20-cv-00009-VC
      Case 3:16-md-02741-VC           Document 8921         Filed 01/13/20     Page 17 of 23



 1          144.    Monsanto incorporates by reference its responses to paragraphs 1 through 143 in

 2   response to paragraph 144 of plaintiff’s Complaint.

 3          145.    Monsanto lacks information or knowledge sufficient to form a belief as to the

 4   truth of the allegations in paragraph 145 and therefore denies those allegations.

 5          146.    Monsanto lacks information or knowledge sufficient to form a belief as to the

 6   truth of the allegations in paragraph 146 and therefore denies those allegations.

 7          147.    Monsanto denies the allegations in paragraph 147.

 8          148.    Monsanto denies the allegations in paragraph 148.

 9          149.    Monsanto denies the allegations in paragraph 149.

10          150.    Monsanto denies the allegations in paragraph 150, including each of its subparts.

11          151.    Monsanto denies the allegations in paragraph 151.

12          152.    Monsanto denies that Roundup®-branded products have “dangerous

13   characteristics.” Monsanto lacks information or knowledge sufficient to form a belief as to the

14   truth of the remaining allegations in paragraph 152 and therefore denies those allegations.

15          153.    Monsanto lacks information or knowledge sufficient to form a belief as to the

16   truth of the allegations in paragraph 153 and therefore denies those allegations.

17          154.    Monsanto denies the allegations in paragraph 154.

18          155.    The allegations in paragraph 155 set forth conclusions of law for which no

19   response is required.

20          156.    Monsanto denies the allegations in paragraph 156.

21          157.    Monsanto denies the allegations in paragraph 157.

22          158.    Monsanto denies the allegations in paragraph 158.

23          159.    Monsanto denies the allegations in paragraph 159.

24          160.    Monsanto denies the allegations in paragraph 160.

25          161.    Monsanto denies the allegations in paragraph 161.

26          162.    Monsanto denies the allegations in paragraph 162.

27          163.    Monsanto denies the allegations in paragraph 163.

28          164.  Monsanto denies the allegations in paragraph 164.
                                                - 17 -
                MONSANTO COMPANY’S ANSWER TO PLAINTIFF’S COMPLAINT
                             3:16-md-02741-VC & 3:20-cv-00009-VC
      Case 3:16-md-02741-VC           Document 8921         Filed 01/13/20      Page 18 of 23



 1          165.    Monsanto denies the allegations in paragraph 165.

 2          166.    Monsanto incorporates by reference its responses to paragraphs 1 through 165 in

 3   response to paragraph 166 of plaintiff’s Complaint.

 4          167.    The allegations in paragraph 167 set forth conclusions of law for which no

 5   response is required.

 6          168.    Monsanto lacks information or knowledge sufficient to form a belief as to the

 7   truth of the allegations in paragraph 168 and therefore denies those allegations.

 8          169.    Monsanto denies the allegations in paragraph 169. All labeling of Roundup®-

 9   branded products has been and remains EPA-approved and in compliance with all federal

10   requirements under FIFRA.

11          170.    Monsanto denies the allegations in paragraph 170.

12          171.    Monsanto denies the allegations in paragraph 171. All labeling of Roundup®-

13   branded products has been and remains EPA-approved and in compliance with all federal

14   requirements under FIFRA.

15          172.    Monsanto denies the allegations in paragraph 172. All labeling of Roundup®-

16   branded products has been and remains EPA-approved and in compliance with all federal

17   requirements under FIFRA.

18          173.    Monsanto denies the allegations in paragraph 173.

19          174.    Monsanto lacks information or knowledge sufficient to form a belief as to the

20   truth of the allegations regarding plaintiff’s use history in paragraph 174 and therefore denies

21   those allegations. Monsanto denies the remaining allegations in paragraph 174.

22          175.    The allegations in paragraph 175 set forth conclusions of law for which no

23   response is required.

24          176.    Monsanto denies the allegations in paragraph 176.

25          177.    Monsanto denies the allegations in paragraph 177.

26          178.    Monsanto denies the allegations in paragraph 178.

27          179.    Monsanto denies the allegations that Roundup®-branded products are defective

28   and accordingly denies the allegations in paragraph 179.
                                                   - 18 -
               MONSANTO COMPANY’S ANSWER TO PLAINTIFF’S COMPLAINT
                                3:16-md-02741-VC & 3:20-cv-00009-VC
      Case 3:16-md-02741-VC           Document 8921         Filed 01/13/20      Page 19 of 23



 1          180.    The allegations in paragraph 180 set forth conclusions of law for which no

 2   response is required.

 3          181.    Monsanto lacks information or knowledge sufficient to form a belief as to the

 4   truth of the allegations in paragraph 181 and therefore denies those allegations.

 5          182.    Monsanto denies the allegations in paragraph 182.

 6          183.    Monsanto denies the allegations in paragraph 183.

 7          184.    Monsanto denies the allegations in paragraph 184.

 8          185.    Monsanto denies the allegations in paragraph 185.

 9          186.    Monsanto denies the allegations in paragraph 186.

10          187.    Monsanto incorporates by reference its responses to paragraphs 1 through 186 in

11   response to paragraph 187 of plaintiff’s Complaint.

12          188.    Monsanto denies the allegations in paragraph 188. Additionally, the allegations

13   in the last sentence in paragraph 188 set forth conclusions of law for which no response is

14   required.

15          189.    Monsanto lacks information or knowledge sufficient to form a belief as to the

16   truth of the allegations in paragraph 189 concerning the plaintiff’s claimed use of Roundup®-

17   branded products and therefore denies those allegations. The remaining allegations in paragraph

18   189 set forth conclusions of law for which no response is required.

19          190.    The allegations in paragraph 190 set forth conclusions of law for which no

20   response is required.

21          191.    Monsanto denies the allegations in paragraph 191.

22          192.    The allegation in paragraph 192 regarding a purported implied warranty sets forth

23   a conclusion of law for which no response is required. Monsanto lacks information or

24   knowledge sufficient to form a belief as to the truth of the remaining allegations in paragraph

25   193 and therefore denies those allegations.

26          193.    Monsanto lacks information or knowledge sufficient to form a belief as to the

27   truth of the allegations in paragraph 193 regarding plaintiff’s reliance and therefore denies those

28
                                          - 19 -
                 MONSANTO COMPANY’S ANSWER TO PLAINTIFF’S COMPLAINT
                           3:16-md-02741-VC & 3:20-cv-00009-VC
      Case 3:16-md-02741-VC            Document 8921         Filed 01/13/20       Page 20 of 23



 1   allegations. The remaining allegations in paragraph 193 set forth conclusions of law for which

 2   no response is required.

 3           194.    Monsanto denies the allegations in paragraph 194.

 4           195.    Monsanto denies the allegations in paragraph 195.

 5           196.    Monsanto denies the allegations in paragraph 196.

 6           In response to the allegations in the section entitled “PRAYER FOR RELIEF,” Monsanto

 7   denies that plaintiff is entitled to the relief sought therein, including any judgment for any

 8   damages, interest, costs, or any other relief whatsoever.

 9           Every allegation in the Complaint that is not specifically and expressly admitted in this

10   Answer is hereby specifically and expressly denied.

11                            SEPARATE AND AFFIRMATIVE DEFENSES

12           1.      The Complaint, in whole or part, fails to state a claim or cause of action upon

13   which relief can be granted.

14           2.      Venue in the District of Illinois may be inconvenient for plaintiff’s claims.

15           3.      Plaintiff’s claims are barred because plaintiff cannot proffer any scientifically

16   reliable evidence that the products at issue were defective or unreasonably dangerous.

17           4.      Any alleged negligent or culpable conduct of Monsanto, none being admitted,

18   was so insubstantial as to be insufficient to be a proximate or substantial contributing cause of

19   plaintiff’s alleged injuries.

20           5.      Plaintiff’s claims are barred, in whole or in part, because the products at issue

21   were designed, manufactured, marketed and labeled with proper warnings, information, cautions

22   and instructions, in accordance with the state of the art and the state of scientific and

23   technological knowledge.

24           6.      Plaintiff’s claims are barred, in whole or in part, because the products at issue

25   were not defective or unreasonably dangerous in that they complied with, at all relevant times,

26   all applicable government safety standards.

27           7.      Any claims based on allegations that Monsanto misled, defrauded, made

28   misrepresentations to, or withheld information from U.S. EPA are preempted by federal law.
                                                   - 20 -
               MONSANTO COMPANY’S ANSWER TO PLAINTIFF’S COMPLAINT
                                 3:16-md-02741-VC & 3:20-cv-00009-VC
      Case 3:16-md-02741-VC             Document 8921          Filed 01/13/20       Page 21 of 23



 1   See, e.g., Buckman Co. v. Plaintiffs’ Legal Comm., 531 U.S. 341 (2001); Nathan Kimmel, Inc. v.

 2   Dowelanco, 275 F.3d 1199 (9th Cir. 2002).

 3              8.    Plaintiff’s claims are preempted, in whole or in part, by applicable federal law

 4   relating to the design, testing, producing, manufacturing, labeling, distributing, modeling,

 5   processing, and supply of Roundup®-branded products and/or glyphosate-containing products.

 6              9.    Plaintiff’s claims are preempted, in whole or in part, because of U.S. EPA

 7   findings that glyphosate does not cause cancer in humans and/or because of U.S. EPA-approved

 8   product labeling.

 9              10.   Plaintiff’s claims are barred, in whole or in part, by the doctrine of primary

10   jurisdiction, including by the authority delegated by Congress to the U.S. EPA.

11              11.   Plaintiff’s claims are barred, in whole or in part, because plaintiff’s injuries, if

12   any, were the result of conduct of plaintiff, independent third parties, and/or events that were

13   extraordinary under the circumstances, not foreseeable in the normal course of events, and/or

14   independent, intervening and superseding causes of the alleged injuries, including but not limited

15   to plaintiff’s pre-existing medical conditions.

16              12.   The doctrines contained in Restatement (Second) of Torts § 402A, comments j

17   and k, bar plaintiff’s claims against Monsanto in whole or in part.

18              13.   Applicable statutes of limitations and/or repose bar plaintiff’s claims in whole or

19   in part.

20              14.   Plaintiff’s misuse or abnormal use of the product or failure to follow instructions

21   bar plaintiff’s claims in whole or in part.

22              15.   If plaintiff suffered injury or damages as alleged, which is denied, such injury or

23   damage resulted from: (a) acts or omissions of persons or entities for which Monsanto is neither

24   liable nor responsible or, in the alternative, Monsanto is entitled to an assessment of the relative

25   degree of fault of all such persons and entities; or (b) resulted from diseases and/or causes that

26   are not related or connected with any product sold, distributed, or manufactured by Monsanto.

27   Such acts or omissions on the part of others or diseases or causes constitute an independent,

28   intervening and sole proximate cause of plaintiff’s alleged injury or damages.
                                                   - 21 -
                MONSANTO COMPANY’S ANSWER TO PLAINTIFF’S COMPLAINT
                                3:16-md-02741-VC & 3:20-cv-00009-VC
      Case 3:16-md-02741-VC              Document 8921         Filed 01/13/20     Page 22 of 23



 1           16.     Monsanto had no legal relationship or privity with plaintiff and owed no duty to

 2   plaintiff by which liability could be attributed to it.

 3           17.     Monsanto made no warranties of any kind or any representations of any nature

 4   whatsoever to plaintiff. If any such warranties were made, which Monsanto specifically denies,

 5   then plaintiff failed to give notice of any breach thereof.

 6           18.     Plaintiff’s claims are preempted or otherwise barred in whole or in part by the

 7   Freedom of Speech Clause of the First Amendment of the U.S. Constitution.

 8           19.     Plaintiff’s claims for punitive and/or exemplary damages are barred because such

 9   an award would violate Monsanto’s due process, equal protection and other rights under the

10   United States Constitution, The Illinois Constitution, the Wisconsin Constitution, and/or other

11   applicable state constitutions.

12           20.     Plaintiff’s claims for punitive and/or exemplary damages are barred because

13   plaintiff has failed to allege conduct warranting imposition of such damages under Illinois law,

14   Wisconsin law, and/or other applicable state’s laws.

15           21.     Plaintiff’s claims for punitive and/or exemplary damages are barred and/or limited

16   by operation of state and/or federal law.

17           22.     Plaintiff’s claims are barred in whole or in part by plaintiff’s own

18   contributory/comparative negligence.

19           23.     Plaintiff’s claims are barred in whole or in part by plaintiff’s own failure to

20   mitigate damages.

21           24.     Plaintiff’s claims are barred in whole or in part by the sophisticated user doctrine.

22           25.     Plaintiff’s recovery, if any, shall be reduced by those payments that plaintiff

23   receives from collateral sources.

24           26.     If plaintiff has been injured or damaged, no injury or damages being admitted,

25   such injuries were not caused by a Monsanto product.

26           27.     Plaintiff’s claims are barred to the extent that plaintiff seeks relief under the laws

27   of states that do not govern plaintiff’s claims.

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                                            - 22 -
                   MONSANTO COMPANY’S ANSWER TO PLAINTIFF’S COMPLAINT
                             3:16-md-02741-VC & 3:20-cv-00009-VC
      Case 3:16-md-02741-VC             Document 8921          Filed 01/13/20      Page 23 of 23



 1          28.       Plaintiff’s claims are barred or limited to the extent that plaintiff asserts claims

 2   that are governed by the laws of a state that does not recognize, or limits, such claims.

 3          29.       Plaintiffs’ claims are barred, in whole or in part, by application of Wis. Stat. §

 4   895.047(3)(b).

 5          30.       Monsanto hereby gives notice that it intends to rely upon such other defenses as

 6   may become available or apparent during the course of discovery and thus reserves its right to

 7   amend this Answer to assert such defenses.

 8          WHEREFORE, Defendant Monsanto demands judgment in its favor and against

 9   plaintiff, dismissing plaintiff’s Complaint with prejudice, together with the costs of suit and such

10   other relief as the Court deems equitable and just.

11                                         JURY TRIAL DEMAND

12          Monsanto demands a jury trial on all issues so triable.

13   DATED: January 13, 2020                               Respectfully submitted,

14
                                                           /s/ Joe G. Hollingsworth
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                                           - 23 -
                  MONSANTO COMPANY’S ANSWER TO PLAINTIFF’S COMPLAINT
                            3:16-md-02741-VC & 3:20-cv-00009-VC
